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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      v.                            )                Crim. Action No. 19-0018 (ABJ)
                                    )
ROGER J. STONE, JR.,                )
                                    )
                  Defendant.        )
                                    )
____________________________________)


                                   SCHEDULING ORDER

       After considering the matters discussed at the status conference held in this case on

March 14, 2019, it is ORDERED that the following schedule shall apply:

       1)      Any defense motion to dismiss, or motion alleging a defect in instituting the
               prosecution, including any potential motion concerning vindictive or selective
               prosecution, and any motion alleging error in the grand jury proceeding or a defect
               in the indictment, see Fed. R. Crim. Proc. 12(B)(A) and (B), must be filed by April
               12, 2019. The opposition is due May 3, 2019, and any reply is due May 17, 2019.
               If such motions are filed, a hearing will be held on May 30 at 10:00 a.m.

       2)      Any defense motion to suppress statements or evidence must be filed by May
               10, 2019. The opposition is due May 31, 2019, and any reply is due June 14, 2019.
               A hearing on the motion will be held on June 21, 2019 at 10:00 a.m.

       3)      The government’s notice of its intention to introduce evidence under Fed. R.
               Evid. 404(b) must be filed by June 24, 2019. The opposition is due July 8, 2019,
               and the reply is due July 15, 2019.

       4)      Motions in limine on behalf of either party must be filed by July 26, 2019.
               Oppositions are due August 9, 2019, and replies are due August 16, 2019.

       5)      On August 16, 2019, the parties must jointly file a list of proposed questions to be
               included in the written jury questionnaire that indicates:




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               i.     the questions on which the parties agree;

               ii.    the questions on which the parties disagree, with specific objections noted
                      below each disputed question and supporting legal authority (if any). 1

       The joint proposed jury questionnaire may not exceed 45 questions.

       6)      The parties must jointly file a single Joint Pretrial Statement by August 30, 2019.

       7)      The pretrial conference will be held on September 17, 2019 at 9:30 a.m. 2

       8)      The parties must inform the Court of their proposed strikes for cause by
               September 19, 2019.

       9)      Trial will commence on November 5, 2019 at 9:30 a.m.

       Any motion to extend a date for the submission of a pleading to the Court must be filed at

least two business days before the date to be extended.

       All pleadings must conform to the requirements concerning formatting and fonts set forth

in Local Civil Rule 5.1(d).


                              JOINT PRETRIAL STATEMENT

       The Joint Pretrial Statement must include:

       a)      a concise joint statement of the case for the Court to read to prospective jurors;

       b)      an estimate of the number of days the trial is anticipated to last;

       c)      a list of all outstanding motions in limine;

       d)      proposed jury instructions that indicate:




1      Proposed questions should call for short answers – preferably yes or no answers, or
responses that involve checking boxes, where possible. The Court will schedule a date in
September for the jurors to come to the courthouse to complete the questionnaire.
2      The parties are advised that the Court will not extend this date into October.

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               i.     the instructions on which the parties agree; and

               ii.    the instructions on which the parties disagree, with specific objections noted
                      below each disputed instruction and supporting legal authority.

               iii.    Any agreed or proposed instructions contained in the Standardized
                      Criminal Jury Instructions for the District of Columbia need not be
                      separately provided but should be identified by number. Any other
                      proposed instructions must be provided to the Court in their entirety and
                      should be formatted so that each individual jury instruction begins on a new
                      page, with the source and supporting authority noted at the bottom of the
                      page, followed by any objections and the grounds therefor.

       e)      a list of expert witnesses, if any, accompanied by a brief description of each
               witness’s area of expertise and expected testimony, followed by specific objections
               (if any) to each witness;

       f)      a list of prior convictions, if any, that the government intends to use for
               impeachment or any other purpose, followed by any specific objections to that use;

       g)      a list of exhibits that each party intends to offer during trial that identifies each
               exhibit by number and specifies those exhibits to which there is an objection, and
               the basis for the objection, e.g., “hearsay,” or “F.R.E. 403,” without further
               argument. Exhibits will be presumed authentic unless an objection to their
               authenticity is noted on the Joint Pretrial Statement;

       h)      any stipulations, signed by counsel and the defendant;

       i)      a list of any matters of which the parties seek the Court to take judicial notice,
               along with the proposed language; and

       j)      a proposed verdict form, as well as proposed special interrogatories (if any), that
               includes a date and signature line for the jury foreperson.

       At least two business days before the conference, counsel for each party shall deliver to

chambers copies of the exhibits in electronic form on disk and in paper form in a binder (or set of

binders) containing copies of all exhibits that the party will seek to introduce – pre-marked with

their exhibit numbers and divided by numbered tabs – with an index or table of contents to the

binders. Binders may not be larger than 3 inches. Exhibit binders must be labelled on both the




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front and the spine of the binder with the name of the party, volume number, and the numbers of

the exhibits found inside. (For example: Defendant’s Exhibits Vol. I, Ex. 1 – 27).

       SO ORDERED.




                                             AMY BERMAN JACKSON
                                             United States District Judge
DATE: March 15, 2019




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